         Case 1:22-cv-10904-JSR Document 143 Filed 05/15/23 Page 1 of 4




                       UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED               )
STATES VIRGIN ISLANDS                  )
                                       )
      Plaintiff,                       )
                                       )
V.                                     )                Case Number: 1:22-cv-10904-JSR
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Defendant/Third-Party Plaintiff. )
____________________________________)
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Third-Party Plaintiff,           )
                                       )
V.                                     )
                                       )
JAMES EDWARD STALEY                    )
                                       )
      Third-Party Defendant.           )
____________________________________)

            GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS’
           MOTION FOR ORDER AUTHORIZING ALTERNATIVE SERVICE
                OF SUBPOENA FOR THIRD PARTY ELON MUSK

        NOW COMES the Government of the United States Virgin Islands, the Plaintiff in the

above-captioned action, and moves pursuant to Fed. R. Civ. P. 45 for an Order authorizing the

Government to arrange alternative service of its Subpoena to Produce Documents upon third party

Elon Musk. As grounds for this Motion, the Government states the following:

        The Government brought this civil action against Defendant JPMorgan Chase Bank, N.A.

(“JPMorgan”) as part of its ongoing effort to protect public safety and to hold accountable those

who facilitated or participated in, directly or indirectly, the trafficking enterprise of Jeffrey Epstein

(“Epstein”). The Government’s investigation has revealed that JPMorgan knowingly, recklessly,



                                                   1
         Case 1:22-cv-10904-JSR Document 143 Filed 05/15/23 Page 2 of 4




and unlawfully provided and pulled the levers through which Epstein’s recruiters and victims were

paid and was indispensable to the operation and concealment of the Epstein trafficking enterprise.

Financial institutions can connect—or choke—human trafficking networks, and enforcement

actions filed and injunctive relief obtained by attorneys general are essential to ensure that

enterprises like Epstein’s cannot flourish in the future. The Government’s investigation further

revealed that JPMorgan financially profited from the deposits made by Epstein and Epstein-

controlled entities located in the Virgin Islands and from the business opportunities referred to

JPMorgan by Epstein and his co-conspirators in exchange for its known facilitation of and implicit

participation in Epstein’s sex trafficking venture.

       Upon information and belief, Elon Musk—the CEO of Tesla, Inc., among other

companies—is a high-net-worth individual who Epstein may have referred or attempted to refer

to JPMorgan. The Government issued a subpoena for documents to Mr. Musk on April 28, 2023

(attached as Exhibit 1). The Government made good-faith attempts to obtain an address for Mr.

Musk, including hiring an investigative firm to search public records databases for possible

addresses. Declaration of Linda Singer (“Singer Decl.”), ¶ 2 (attached as Exhibit 2). One address

found was that of Mr. Musk’s counsel who has waived service on Mr. Musk’s behalf in several

recent federal cases filed within the last year. The Government contacted Mr. Musk’s counsel via

email to ask if he would be authorized to accept service on Mr. Musk’s behalf in this matter but

did not receive a response confirming or denying his authority. Singer Decl., ¶¶ 3-4. In addition,

the Government’s process server attempted service at the business address for Tesla, Inc. identified

by the investigative firm, but was unable to confirm whether or not Mr. Musk was at the location

and available for service and was directed by security to contact the company’s registered agent

and/or legal department. Singer Decl., ¶ 5.



                                                  2
         Case 1:22-cv-10904-JSR Document 143 Filed 05/15/23 Page 3 of 4




       This Court long has recognized that Rule 45 of the Federal Rules of Civil Procedure permits

alternative service of a subpoena by certified mail where a party is unable to provide personal

service “[i]n accordance with the interpretive principle that the rules ‘be construed and

administered to secure the just, speedy, and inexpensive determination of every action.’” Cordius

Trust v. Kummerfeld, 45 Fed. R. Serv. 3d 1151, 2000 WL 10268, at *2 (S.D.N.Y. Jan. 3, 2000)

(quoting Fed. R. Civ. P. 1). The Court has permitted alternative service where a party’s repeated

attempts at personal service have failed, see SEC v. David, No. 19-cv-9013, 2020 WL 703464, at

*1-2 (S.D.N.Y. Feb. 12, 2020) (Rakoff, J.), or where there is an “approaching close of discovery,”

In re Petrobras Securities Litig., No. 14-CV-9662, 2016 WL 908644, at *1-2 (S.D.N.Y. March 4,

2016) (Rakoff, J.) (authorizing alternative service by email and overnight mail 56 days before

April 29, 2016 discovery end date).

       Both circumstances are present here. The Government has made good-faith efforts to

obtain an address for Mr. Musk and to serve a subpoena upon him personally. Moreover, the fact-

discovery end date is at the end of this month. In these circumstances, the Court should in the

interest of securing just and expeditious resolution authorize the Government to arrange alternative

service of its Subpoena to Produce Documents by serving Mr. Musk via service upon Tesla Inc.’s

registered agent.

Dated: May 15, 2023                           ARIEL SMITH, ESQ.
                                              ATTORNEY GENERAL NOMINEE

                                              By counsel,

                                              /s/ Linda Singer
                                              Linda Singer (pro hac vice)
                                              Mimi Liu (pro hac vice)
                                              David I. Ackerman
                                              Paige Boggs (pro hac vice)
                                              MOTLEY RICE LLC
                                              401 9th Street NW, Suite 630


                                                 3
Case 1:22-cv-10904-JSR Document 143 Filed 05/15/23 Page 4 of 4




                            Washington, DC 20004
                            Tel: (202) 232-5504
                            Fax: (202) 232-5513
                            lsinger@motleyrice.com
                            mliu@motleyrice.com
                            dackerman@motleyrice.com
                            pboggs@motleyrice.com

                            VENETIA VELAZQUEZ
                            Admitted Pro Hac Vice
                            Acting Chief, Civil Division
                            Virgin Islands Department of Justice
                            Office of the Attorney General
                            213 Estate La Reine, RR1 Box 6151
                            Kingshill, St. Croix
                            U.S. Virgin Islands 00850
                            Tel.: (340) 773-0295 Ext. 202481
                            venetia.velazquez@doj.vi.gov

                            Attorneys for Plaintiff Government of the
                            United States Virgin Islands




                               4
